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IN THE UNITED STATES DISTRICT cm 7 Dp
FOR THE NORTHERN DISTRICT OF TEXA
FORT WORTH DIVISION
UNITED STATES OF AMERICA CLERK, US" DISTRICECO ps

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RICKY BADLEY (01) 4-20CR-248-0

INDICTMENT

The Grand Jury Charges:

Count One
Stalking
(Violation of 18 U.S.C § 2261A(2)(B))

From in or about September 2019, continuing through in or about June 2020, in
the Fort Worth Division of the Northern District of Texas, the defendant, Ricky Badley,
with the intent to injure, harass, and intimidate another person, used the mail, interactive
computer services, and electronic communication services of interstate commerce to
engage in a course of conduct that caused, attempted to cause, and would be reasonably

expected to cause substantial emotional distress to a person, in that: Badley repeatedly

sent text messages, mailed letters, and used social media applications to injure, harass,

and intimidate V-1.

Indictment - Page 1
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In violation of 18 U.S.C § 2261A(2)\(B).

A TRUE BILL

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FOREPERSON/

ERIN NEALY COX
UNITED STATES ATTORNEY

Af

RANEY E. LARSON
ees United States Attorney

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA

RICKY BADLEY (01)

 

INDICTMENT

18 U.S.C § 2261A(2)(B)

 

 

Stalking
1 Count
A true bill rendered -
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FORT WORTH FOREPERSON

 

Filed in open court this 16th day of September, 2020.

 

 

Defendant in Federal Custody.

 

 
